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AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Means                       տ Original     տ Duplicate Original



                                              UNITED STATES DISTRICT COURT
                                                                                  for the
                                                                     Central District of California

                          In the Matter of the Search of                             )
                  (Briefly describe the property to be searched or identify the      )
                                  person by name and address)                        )      Case No. 2:22-MJ-02974
          TREVOR DANIEL JACOB, an individual                                         )
                                                                                     )
                                                                                     )
                                                                                     )
                                                                                     )

                  WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:       Any authorized law enforcement officer
          An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identify the person or describe the property to be searched
and give its location):

       See Attachment A

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

       See Attachment B

       Such affidavit(s) or testimony are incorporated herein by reference and attached hereto].

          YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (not to exceed 14 days)
            in the daytime 6:00 a.m. to 10:00 p.m.                       at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
through a filing with the Clerk's Office.
          Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
            for       days (not to exceed 30)               until, the facts justifying, the later specific date of                                 .


Date and time issued:
                                                                                                                  Judge’s signature

City and state:               Los Angeles, CA
                                                                                                Hon. Steve Kim, U.S. Magistrate Judge

AUSA: Dennis Mitchell, x12484
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(Page 2)
                                                                              Return
Case No.:                                 Date and time warrant executed:                 Copy of warrant and inventory left with:
   2:22-MJ-02974
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                                          Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                 Executing officer’s signature


                                                                                                    Printed name and title
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                               ATTACHMENT A

DESCRIPTION OF THE PERSON TO BE SEARCHED

      THE PERSON TO BE SEARCHED IS TREVOR JACOB (“JACOB”) whose

year of birth is 1993.      JACOB is further described as an adult

male with brown hair and green eyes, and his weight and height

are further described as 180 pounds and six feet tall.           JACOB

has California Driver License number XXXX8422.          A close-up photo

of JACOB’s face and a still image of JACOB in an airplane are

shown on the next page.      For purposes of this warrant the search

of JACOB shall include JACOB’S clothing and personal belongings,

including any backpacks, wallets, briefcases, and bags that are

within JACOB’s immediate vicinity and control at the location

where the search warrant is executed.




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                               ATTACHMENT B

LIST OF ITEMS TO BE SEIZED

        1.   The Items To Be Seized are evidence, contraband,

 fruits, or instrumentalities of violations of Title 18, United

 States Code, Sections 32 (destruction of aircraft or aircraft

 facilities), 1001 (false statement), 1505 (obstruction of

 proceedings before departments, agencies, and committees), and

 Title 49, United States Code, Section 1155(b) (aviation

 penalties) and consist of an iPhone 12 Pro with International

 Mobile Equipment Identity (IMEI) number 3509058239557400 (the

 “SUBJECT DEVICE”), and the following items that are located on

 the SUBJECT DEVICE:

             a.   All documents, data, and/or records pertaining to

a 1940 Taylorcraft, BL-65 aircraft with Civil Registration

Number N29508.

             b.   All documents, data, and/or records pertaining to

the aircraft crash or accident involving the aircraft associated

with Civil Registration Number N29508 on or about November 24,

2021.

             c.   All documents, data, and/or records pertaining to

FAA and/or NTSB regulations.

             d.   All documents, data, and/or records constituting

or pertaining to JACOB’s pilot logbooks for year 2021.

             e.   All documents, data, and/or records constituting

or pertaining to aircraft maintenance logbooks for aircraft

associated with Civil Registration Number N29508 from January 1,

2017 to the present.


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            f.    All audio recordings, photos, video recordings,

and/or still captured images pertaining to any flights,

accident, crash, condition, repair, recovery, removal, or

destruction of or pertaining to a 1940 Taylorcraft, BL-65

aircraft associated with Civil Registration Number N29508.

            g.    All documents, data, and/or records pertaining to

any Global Positioning System (“GPS”) coordinates that identify

any travel routes, destinations, origination points, or other
locations for a 1940 Taylorcraft, BL-65 aircraft associated with

Civil Registration Number N29508 for the period of January 1,

2021, to the present.

            h.    All records, data, and/or documents that indicate

all stored or saved telephone numbers.

            i.    All records, data, and/or documents that consist

of call log information, including all telephone numbers called

from the SUBJECT DEVICE and all telephone numbers which called

to the SUBJECT DEVICE for the period of January 1, 2021, to the

present.

            j.    All SMS, text, and/or email communications sent

to or received by the SUBJECT DEVICE for the period of January
1, 2021, to the present.

            k.    Data, records, or documents pertaining to FAA or

NTSB regulations.

            l.    With respect to the SUBJECT DEVICE:

                  i.   evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted;


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                  ii.   evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                  iii. evidence of the attachment of other devices;

                  iv.   evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the
device;

                  v.    evidence of the times the device was used;

                  vi.   applications, programs, software,

documentation, manuals, passwords, keys, and other access

devices that may be necessary to access the device or data

stored on the device, to run software contained on the device,

or to conduct a forensic examination of the device;

                  vii. records of or information about Internet

Protocol addresses used by the device.

      2.    As used herein, the terms “records,” “information,”

“documents,” “programs,” “applications,” and “materials” include

records, information, documents, programs, applications, and
materials created, modified, or stored in any form, including in

digital form on any digital device and any forensic copies

thereof.

      3.    As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal


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digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy
disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.




I.    SEARCH PROCEDURE FOR THE SUBJECT DEVICE

       4.   In searching the SUBJECT DEVICE or forensic copies

 thereof, law enforcement personnel executing this search

 warrant will employ the following procedure:

            a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the SUBJECT DEVICE on-site or

seize and transport the SUBJECT DEVICE and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location. The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.           The

government will not search the SUJBECT DEVICE and/or forensic




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image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

            b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                  i.    The search team may subject all of the data

contained in the SUBJECT DEVICE to the search protocols to

determine whether the SUBJECT DEVICE and any data thereon falls
within the list of items to be seized.         The search team may also

search for and attempt to recover deleted, “hidden,” or

encrypted data to determine, pursuant to the search protocols,

whether the data falls within the list of items to be seized.

                  ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                  iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.

            c.    The search team will not seize contraband or
evidence relating to other crimes outside the scope of the items

to be seized without first obtaining a further warrant to search

for and seize such contraband or evidence.

            d.    If the search team determines that the SUBJECT

DEVICE does not contain any data falling within the list of

items to be seized, the government will, as soon as is




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 practicable, return the SUBJECT DEVICE and delete or destroy all

 forensic copies thereof.

            e.    If the search team determines that the SUBJECT

 DEVICE does contain data falling within the list of items to be

 seized, the government may make and retain copies of such data,

 and may access such data at any time.

            f.    If the search determines that the SUBJECT DEVICE

 is (1) itself an item to be seized and/or (2) contains data
 falling within the list of other items to be seized, the

 government may retain the SUBJECT DEVICE and any forensic copies

 of the SUBJECT DEVICE, but may not access data falling outside

 the scope of the other items to be seized (after the time for

 searching the device has expired) absent further court order.

            g.    The government may also retain the SUBJECT DEVICE

 if the government, prior to the end of the search period,

 obtains an order from the Court authorizing retention of the

 SUBJECT DEVICE (or while an application for such an order is

 pending), including in circumstances where the government has

 not been able to fully search the SUBJECT DEVICE because the

 device or files contained therein is/are encrypted.
            h.    After the completion of the search of the SUBJECT

 DEVICE, the government shall not access digital data falling

 outside the scope of the items to be seized absent further order

 of the Court.

      5.    The review of the electronic data obtained pursuant to

 this warrant may be conducted by any government personnel

 assisting in the investigation, who may include, in addition to


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 law enforcement officers and agents, attorneys for the

 government, attorney support staff, and technical experts.

 Pursuant to this warrant, the investigating agency may deliver a

 complete copy of the seized or copied electronic data to the

 custody and control of attorneys for the government and their

 support staff for their independent review.

        6.   During the execution of this search warrant, law

  enforcement is permitted to: (1) depress TREVOR JACOB’S thumb
  and/or fingers onto the fingerprint sensor of the SUBJECT

  DEVICE (only when the device has such a sensor), and direct

  which specific finger(s) and/or thumb(s) shall be depressed;

  and (2) hold the device in front of TREVOR JACOB’S face with

  his eyes open to activate the facial-, iris-, or retina-

  recognition feature, in order to gain access to the contents of

  any such device.

        7.   The special procedures relating to the SUBJECT DEVICE

  found in this warrant govern only the search of SUBJECT DEVICE

  pursuant to the authority conferred by this warrant and do not

  apply to any search of digital devices pursuant to any other

  court order.




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